966 F.2d 1445
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff-Appellee,v.James Steven MCCLURE, Defendant-Appellant.
    No. 92-6440.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  June 1, 1992Decided:  June 17, 1992
    
      Appeal from the United States District Court for the Western District of North Carolina, at Bryson City.  Richard L. Voorhees, Chief District Judge.  (CR-89-41-B)
      James Steven McClure, Appellant Pro Se.
      Thomas J. Ashcraft, United States Attorney, Charlotte, North Carolina, for Appellee.
      W.D.N.C.
      AFFIRMED.
      Before PHILLIPS, WILKINSON, and LUTTIG, Circuit Judges.
      OPINION
      PER CURIAM:
    
    
      1
      James Steven McClure appeals from the district court's order denying relief on McClure's motion pursuant to Fed.  R. Crim.  P. 36.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  United States v. McClure, No. CR-89-41-B (W.D.N.C. Apr. 14, 1992).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    